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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DOUGLAS O'CONNOR, et al.,                          Case No. 13-cv-03826-EMC
                                   8                    Plaintiffs,
                                                                                            ORDER RE PROPOSED NOTICE OF
                                   9              v.                                        CLASS ACTION SETTLEMENT
                                  10     UBER TECHNOLOGIES, INC., et al.,                   Docket No. 915
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Regarding Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement, the

                                  14   proposed Notice of Settlement (Docket No. 916-1, Exh. E), if preliminary approval is granted,

                                  15   should be amended as follows:

                                  16          •   An estimate (or estimated range) of the monetary recovery a class member would

                                  17              receive under the Settlement should be prominently displayed at the beginning of the

                                  18              Notice;

                                  19          •   It should be clearly stated at the beginning of the Notice that class members would not

                                  20              be reclassified as Uber employees under the Settlement;

                                  21          •   Under Section 4 on page 5 of the Notice, it should be explained what it means that “the

                                  22              Ninth Circuit Court of Appeals [found] that Uber’s arbitration clause is enforceable,”

                                  23              i.e., drivers who signed the arbitration clause cannot be part of a class action against

                                  24              Uber or of this Settlement and must pursue their claims in individual arbitration;

                                  25          •   Under Section 8 on page 6, the terms “dismissal with prejudice” and “release” should

                                  26              be clearly explained, i.e., class members who do not opt out of the Settlement are

                                  27              permanently giving up their claims against Uber;

                                  28          •   Under Section 8 on page 7, the types of claims being released under the Settlement
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                                   1              should be explicitly listed in addition to the relevant Labor Code, Wage Order, and

                                   2              statutory citations;

                                   3          •   Under Section 11 on page 9, in addition to the hyperlink to the online claim portal, the

                                   4              Notice should either attach or include a hyperlink to a claim form that can be printed

                                   5              out for class members who prefer to submit claims by mail.

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                                   7          At the March 21, 2019 hearing, the parties should be prepared to discuss their views, if

                                   8   any, on these changes.

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                                  10          IT IS SO ORDERED.

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                                  12   Dated: March 19, 2019
Northern District of California
 United States District Court




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                                  14                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                  15                                                    United States District Judge
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